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 1    William F. Tarantino (State Bar No. 215343)       GUTRIDE SAFIER LLP
      WTarantino@mofo.com
 2    Lena Gankin (State Bar No. 333047)                Seth A. Safier (State Bar No. 197427)
      LGankin@mofo.com                                   seth@gutridesafier.com
 3    MORRISON & FOERSTER LLP                           Marie A. McCrary (State Bar No. 262670)
      425 Market Street                                 marie@gutridesafier.com
 4    San Francisco, CA 94105-2482                      Hayley Reynolds (State Bar No. 306427)
      Telephone: 415.268.7000                           hayley@gutridesafier.com
 5    Facsimile: 415.268.7522                           Kali R. Backer (State Bar No. 342492)
                                                         kali@gutridesafier.com
 6    Attorneys for Defendant                           100 Pine Street, Suite 1250
                                                        San Francisco, CA 94111
 7                                                      Telephone: (415) 639-9090
                                                        Facsimile: (415) 449-6469
 8
                                                        Attorneys for Plaintiff
 9

10                                 UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                         OAKLAND DIVISION

13

14   CAROL LESH, as an individual, on behalf of              Case No. 4:22-cv-01036-HSG (TSH)
     herself, the general public, and those similarly
15   situated,                                               STIPULATION AND
                                                             [PROPOSED] ORDER TO STAY
16                                Plaintiff,                 CASE DEADLINES (L.R. 6-2)

17         v.

18   D’S NATURALS, LLC d/b/a NO COW,                        Judge: Hon. Haywood S. Gilliam, Jr.
                                                            Action Filed: February 18, 2022
19                                                          FAC Filed: April 5, 2023

20                                Defendant.

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     STIPULATION TO STAY (L.R. 6-2)
     CASE NO. 4:22-CV-01036-HSG (TSH)
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 1                                             STIPULATION

 2          Pursuant to Northern District of California Local Rule 6-2 and 7-12, Plaintiff Carol Lesh

 3   (“Plaintiff”) and Defendant D’s Naturals LLC d/b/a No Cow (“Defendant” or “No Cow”), by and

 4   through their undersigned counsel, stipulate as follows:

 5          WHEREAS, on February 18, 2022, Plaintiff filed her Complaint (Dkt. No. 1);

 6          WHEREAS, on April 26, 2022, No Cow filed a Motion to Dismiss Plaintiff’s Complaint

 7   (Dkt. No. 17);

 8          WHEREAS, on March 15, 2023, the Court granted in part and denied in part No Cow’s

 9   Motion to Dismiss Plaintiff’s Complaint (Dkt. No. 33);

10          WHEREAS, on April 5, 2023, Plaintiff filed her First Amended Complaint (Dkt. No. 34);

11          WHEREAS, on April 19, 2023, No Cow Answered Plaintiff’s First Amended Complaint

12   (Dkt. No. 37);

13          WHEREAS, on May 10, 2023, the Court entered its Order setting case deadlines in this

14   matter, including; class certification motion on December 19, 2023; opposition to class

15   certification motion on February 13, 2024; reply to class certification motion on April 9, 2024;

16   and hearing on the class certification motion on May 9, 2024 (Dkt. No. 44);

17          WHEREAS, on September 5, 2023, the parties filed their only Discovery Letter Brief in

18   this matter (Dkt. No. 53);

19          WHEREAS, on September 6, 2023, this Court referred this case, including the parties’

20   Discovery Letter Brief, for discovery purposes to Magistrate Judge Thomas S. Hixson;

21          WHEREAS, on September 6, 2023, the Parties reached an agreement in principle to

22   resolve this matter;

23          WHEREAS, on September 7, 2023, Judge Hixson scheduled an in-person discovery

24   hearing regarding the parties’ Discovery Letter Brief for September 14, 2023 (Dkt. No. 56);

25          WHEREAS, the parties have met and conferred and agreed to an up to 14-day stay of all

26   deadlines, including fact discovery and class certification briefing deadlines as well as discovery

27   hearings, to allow the parties to finalize a potential settlement;

28          WHEREAS, the parties believe that an up to 14-day stay to allow the parties to explore

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 1   resolution may avoid the costs of discovery and class certification briefing, and promote judicial

 2   efficiency;

 3          WHEREAS, the parties respectfully request that the September 14, 2023 in-person

 4   discovery hearing be adjourned to promote judicial efficiency and conserve the resources of the

 5   parties and the Court;

 6          WHEREAS, this stipulation is made in good faith and not for delay or any other improper

 7   purpose.

 8          THEREFORE, IT IS AGREED AND STIPULATED that:

 9          1.      All case deadlines and motion practice in this action are stayed for up to 14 days,

10   until on or before September 27, 2023;

11          2.      If the parties have not resolved this action within 14 days from the date of this

12   stipulation (i.e., by September 27, 2023), the parties will file a status report and/or request an

13   immediate status conference with the Court to address case scheduling.

14
     Dated: September 13, 2023                      MORRISON & FOERSTER LLP
15

16
                                                    By:    /s/ William F. Tarantino
17                                                         WILLIAM F. TARANTINO
18                                                         Attorneys for Defendant
                                                           D’S NATURALS, LLC d/b/a NO COW
19
20   Dated: September 13, 2023                     SETH A. SAFIER
21                                                 KALI BACKER
                                                   GUTRIDE SAFIER LLP
22

23                                                  By:    /s/ Seth A. Safier (with permission)
                                                           SETH A. SAFIER
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                                                              Attorneys for Plaintiff
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     STIPULATION TO STAY (L.R. 6-2)
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 1                               ATTESTATION OF E-FILED SIGNATURE

 2          I, William F. Tarantino, am the ECF User whose ID and password are being used to file

 3   this Stipulation. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Seth Safier has

 4   concurred in this filing.

 5   Dated: September 13, 2023                            /s/ William F. Tarantino
                                                          WILLIAM F. TARANTINO
 6
                                                          Attorneys for Defendant
 7                                                        D’S NATURALS, LLC d/b/a NO COW
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10
                                          [PROPOSED] ORDER
11
     PURSUANT TO STIPULATION, IT IS ORDERED that the case schedule is stayed for up to 14
12
     days, until on or before September 27, 2023. The September 14, 2023 in-person discovery
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     hearing is adjourned.
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       DATED:                                         HON. HAYWOOD S. GILLIAM, JR
16                                                    United States District Court Judge
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     STIPULATION TO STAY (L.R. 6-2)
     CASE NO. 4:22-CV-01036-HSG (TSH)
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